

People v Murphy (2025 NY Slip Op 01778)





People v Murphy


2025 NY Slip Op 01778


Decided on March 25, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2025

Before: Webber, J.P., Friedman, Mendez, Shulman, Higgitt, JJ. 


Ind No. 70639/22|Appeal No. 3961|Case No. 2022-05098|

[*1]The People of the State of New York, Respondent,
vDorrey Murphy, Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Sarah E. Siegel of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Lori Ann Farrington of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Steven Hornstein, J.), rendered November 03, 2022,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2025
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








